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                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF VIRGINIA
                                          Richmond Division

   In re:                            :
             MICHAEL GREGORY WILSON, :
                                     :
                           Debtor.   : Case No: 22-30056
                                     : Chapter 13

                                     OBJECTION TO CONFIRMATION

             The creditor Amanda Padula-Wilson (“Creditor”), by counsel, objects to

   confirmation of the Chapter 13 Plan dated August 22, 2022, pursuant to Federal Rule of

   Bankruptcy Procedure 3015(f), Local Bankruptcy Rule 3015-2(E), and 11 U.S.C. §

   1325(a)(1), (3), (6), (7), (8), and (b)(1)(A), as follows:

                  1. The Chapter 13 Plan fails to provide a recognized payment and term for

                       the claim of Creditor in Section 3(C).

                  2. Debtor has not paid all his post-petition domestic support obligations, to

                       wit: an ongoing $3,000 a month payment for spousal support required by

                       the Agreement between the parties, attached as Exhibit A to Proof of

                       Claim #1-1. Further, the Debtor’s Schedule J, line 5, fails to list this

                       current domestic support obligation.

                  3. Debtor’s chapter 13 plan is underfunded and will not pay for all claims

                       filed or listed. Debtor’s listed priority claims total $195,378.60 plus a

                       listed secured mortgage arrearage of 95,012.33, equal a total of

                       $290,390.93, excluding trustee’s commission and attorney’s fees, while

                       the funding is only $218,800.



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                  4. This chapter 13 plan is not feasible as required under 11 U.S.C.

                       §1325(a)(6). Debtor’s budget shows a net monthly income of only

                       $2,769.32, not including his current domestic support obligation expense

                       of $3,000 a month. Debtor cannot possibly pay his current mortgage

                       payment, his ongoing domestic support obligation, and the plan payment

                       actually necessary to fund the plan, which creditor estimates to be

                       $5,481.48 a month over 60 months, using a 10% trustee’s commission.

                  5. This chapter 13 plan has not been proposed in good faith and the action of

                       the Debtor in filing the petition is not in good faith due to the

                       overwhelming amount of priority and secured debt relative to Debtor’s

                       earning prospects. Even the slowdown due to the recent pandemic does

                       not adequately explain the more than $290,000 of accumulated unpaid tax,

                       mortgage arrearage and unpaid domestic support obligations owed.

                  6. This plan has not been proposed in good faith. Debtor’s counsel filed an

                       objection to Creditor’s Proof of Claim 1-1 at 11:17 a.m. on June 29, 2022,

                       minutes before the hearing on confirmation of the original chapter 13 plan,

                       notwithstanding the fact that the Debtor himself had acknowledged the

                       validity and amount of Creditor’s entire claim in an e-mail to Creditor

                       dated June 20, 2022, as attached. Debtor’s counsel has failed and refused

                       to schedule a hearing on his objection to Proof of Claim 1-1 as required

                       under Local Rule 3007-1(B), despite a notice of that requirement to him

                       by the Clerk on July 13, 2022, docket entry number 83. Only after

                       Creditor filed her List of Witnesses and Proposed Exhibits, docket entry

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                       number 88, with the party admission e-mail and clerk’s notice, did counsel

                       file this amended Chapter 13 plan, thus avoiding the hearing on the

                       original plan and any discussions on why counsel objected to a claim that

                       his Debtor client admitted, and why counsel would not schedule a hearing

                       on his objection, if it were actually a valid objection reflecting his client’s

                       position and not just an improper litigation tactic to obtain confirmation.

                  7. Amanda Padula-Wilson reserves the right to raise additional supporting

                       grounds to her objection at the confirmation hearing.

             WHEREFORE, Amanda Padula-Wilson prays this court sustain this objection to

   confirmation, deny confirmation of Debtor’s chapter 13 plan, and enter such other orders,

   processes, or judgments that are necessary or appropriate to carry out the provisions of

   Title 11.


                                                       AMANDA PADULA-WILSON
                                                       By Counsel

   Date: September 2, 2022

   /s/James H. Wilson, Jr.
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                                           PROOF OF SERVICE

           I certify that I have this 2nd day of September, 2022, served by ECF or first-class
   mail, postage prepaid this Objection on the following parties:

   Suzanne E. Wade, Chapter 13 Trustee
   7202 Glen Forest Dr., Ste. 202
   Richmond, VA 23226

   Anthony L. White, Esq.
   P.O. Box 4665
   Glen Allen, VA 23060

   United States Trustee
   701 E. Broad Street, #4304
   Richmond, VA 23219

                                                    /s/ James H. Wilson, Jr.
                                                    James H. Wilson, Jr., VSB No: 27878
                                                    Counsel for Amanda Padula-Wilson




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